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                                                                                       #:8063

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                                                    5
                                                         Attorneys for the Receiver
                                                    6    Michele Vives
                                                    7

                                                    8                       UNITED STATES DISTRICT COURT
                                                    9                      CENTRAL DISTRICT OF CALIFORNIA
                                                   10   SECURITIES AND EXCHANGE                        Case No. 2:21-cv-02927-CAS-PD
                                                   11
                                                        COMMISSION,
KATTEN MUCHIN ROSENMAN LLP




                                                                                                       STATUS REPORT AS TO MOTION
                                                   12
                                                                    Plaintiff,                         OF RECEIVER MICHELE VIVES
                                                                                                       FOR ORDER APPROVING
                                                              v.                                       SETTLEMENT WITH A
                             525 W. MONROE ST.
                              CHICAGO, IL 60661




                                                   13                                                  CONFIDENTIAL
                               (312) 902-5200




                                                   14
                                                        ZACHARY J. HORWITZ and 1inMM                   COUNTERPARTY AND FOR
                                                        CAPITAL, LLC,                                  RELATED RELIEF
                                                   15               Defendants.                        Judge:     Hon. Christina A. Snyder
                                                   16
                                                                                                       Courtroom: 8D

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                                                                                                                        Case No. 2:21-cv-02927-CAS-PD
                                                                                      STATUS REPORT AS TO MOTION FOR ORDER APPROVING SETTLEMENT
                                                                                        WITH A CONFIDENTIAL COUNTERPARTY AND FOR RELATED RELIEF
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                                                    1         Michele Vives, not individually, but solely as the federal equity receiver (the
                                                    2   “Receiver”) of defendant of 1inMM Capital, LLC and its subsidiaries, affiliates and
                                                    3   over the assets more particularly described in the Order on Appointment of
                                                    4   Permanent Receiver, dated January 14, 2022 [ECF #70], respectfully submits this
                                                    5   status report as to the responses she has received to the Motion for Order Approving
                                                    6   Settlement With a Confidential Counterparty and for Related Relief, dated April 1,
                                                    7   2024 [ECF #331] (the “Motion”).
                                                    8                                  Relevant Background
                                                    9         1.     On April 1, 2024, the Receiver filed the Motion under seal, as the Court
                                                   10   permitted her to do. [ECF #330] The Motion asks the Court to approve the settlement
                                                   11   that the Receiver reached with a counterparty whose identity the Receiver agreed to
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                                                   12   keep confidential and, among other things, enter a bar order in the form of words
                                                        appearing on, or substantially similar to, Exhibit B to Exhibit 1 of the Motion. The
                             525 W. MONROE ST.
                              CHICAGO, IL 60661




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                               (312) 902-5200




                                                   14   text of the bar order also appears in paragraph 6 of the proposed order granting the
                                                   15   Motion.
                                                   16         2.     The Receiver noticed the Motion for a hearing on May 6, 2024.
                                                   17         3.     The Motion states that the Receiver will give notice of the Motion by:
                                                   18   (a) CM/ECF to parties/interested parties; (b) email to all known creditors of the
                                                   19   Estate (or, if represented, their counsel) with a link to the Motion and supporting
                                                   20   exhibits; (c) posting it on the receivership website (“Website”); and (d) publishing
                                                   21   notice once in the Wall Street Journal and once in the Los Angeles Times in the form
                                                   22   annexed to the Motion as Exhibit 5 (the “Published Notice”). (Mot. at 21-22.)
                                                   23         4.     The Motion further stated that these communications would include
                                                   24   instructions as to how to advise the Receiver of any inquiries about or objections to
                                                   25   the Motion by no later than seven days before the hearing (i.e., April 29, 2024) (the
                                                   26   “Objection Deadline”). (Id.)
                                                   27   //
                                                   28   //

                                                                                                                         Case No. 2:21-cv-02927-CAS-PD
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                                                    1                                  Service on Investors
                                                    2          5.    On April 1, 2024, the Receiver provided notice of a redacted version of
                                                    3   the Motion by the Court’s CM/ECF system to the parties and interested parties who
                                                    4   have requested notice, as well as to counsel for the above-captioned parties. (Id. at
                                                    5   32.)
                                                    6          6.    On April 2, 2024, the Receiver posted the Motion on the Website, and
                                                    7   sent an email to the current list of known investors in 1inMM Capital, LLC on file
                                                    8   with the Receiver’s office, as well as to counsel who represent certain of those
                                                    9   investors, including a hyperlink to the post on the Website and instructions as to how
                                                   10   to advise the Receiver of any inquiries about or objections to the Motion on or before
                                                   11   the Objection Deadline. [ECF #332]
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                                                   12          7.    The Receiver caused the Published Notice to be published in the Wall
                                                        Street Journal on April 2, 2024, and in the Los Angeles Times on April 4, 2024.
                             525 W. MONROE ST.




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                              CHICAGO, IL 60661
                               (312) 902-5200




                                                   14   [ECF #333]
                                                   15                                Responses to the Motion
                                                   16          8.    No creditor objected to the Motion by the Objection Deadline.
                                                   17    Dated: April 30, 2024                 Respectfully submitted,
                                                   18                                          KATTEN MUCHIN ROSENMAN LLP
                                                   19                                          By:       /s/Terence G. Banich
                                                                                                         Terence G. Banich
                                                   20
                                                                                               Attorneys for the Receiver
                                                   21                                          Michele Vives
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                                                                                                                        Case No. 2:21-cv-02927-CAS-PD
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                                                                                       PROOF OF SERVICE
                                                    1
                                                        STATE OF ILLINOIS, COUNTY OF COOK
                                                    2
                                                              At the time of service, I was over 18 years of age and not a party to this action.
                                                    3   I am employed in the County of Cook, State of Illinois. My business address is 525
                                                        W. Monroe St., Chicago, Illinois 60661. On April 30, 2024, I served the following
                                                    4   document(s) described as:
                                                    5       STATUS REPORT AS TO MOTION OF RECEIVER MICHELE
                                                        VIVES FOR ORDER APPROVING SETTLEMENT WITH A
                                                    6   CONFIDENTIAL COUNTERPARTY AND FOR RELATED RELIEF
                                                    7   as follows:
                                                    8   [ ] BY MAIL: I enclosed the document(s) in a sealed envelope or package
                                                        addressed to the persons at the addresses listed above and placed the envelope for
                                                    9   collection and mailing, following our ordinary business practices. I am readily
                                                        familiar with Katten Muchin Rosenman LLP practice for collecting and processing
                                                   10   correspondence for mailing. On the same day that the correspondence is placed for
                                                        collection and mailing, it is deposited in the ordinary course of business with the
                                                   11   United States Postal Service, in a sealed envelope with postage fully prepaid.
KATTEN MUCHIN ROSENMAN LLP




                                                   12   [ ] BY E-MAIL OR ELECTRONIC TRANSMISSION: I caused the
                                                        document(s) to be sent from e-mail address terence.banich@katten.com to the
                             525 W. MONROE ST.




                                                   13
                              CHICAGO, IL 60661




                                                        persons at the e-mail address(es) listed below. I did not receive, within a reasonable
                               (312) 902-5200




                                                        time after the transmission, any electronic message or other indication that the
                                                   14   transmission was unsuccessful.
                                                   15   [ ] BY OVERNIGHT MAIL (FedEx): I enclosed said document(s) in an
                                                        envelope or package provided by FEDEX and addressed to the persons at the
                                                   16   addresses listed above. I placed the envelope or package for collection and overnight
                                                        delivery at an office or a regularly utilized drop box of FEDEX or delivered such
                                                   17   document(s) to a courier or driver authorized by FEDEX to receive documents.
                                                   18   [ ] BY PERSONAL SERVICE: I caused said document to be personally
                                                        delivered the document(s) to the person at the addresses listed above by leaving the
                                                   19   documents in an envelope or package clearly labeled to identify the attorney being
                                                        served with a receptionist or an individual in charge of the office.
                                                   20
                                                        [X] E-FILING: By causing the document to be electronically filed via the Court’s
                                                   21   CM/ECF system, which effects electronic service on counsel who are registered with
                                                        the CM/ECF system.
                                                   22
                                                               I declare under penalty of perjury under the laws of the State of Illinois that
                                                   23   the foregoing is true and correct.
                                                   24         Executed on April 30, 2024, at Winnetka, Illinois.
                                                   25                                                   /s/Terence G. Banich
                                                                                                        Terence G. Banich
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                                                                                                                        Case No. 2:21-cv-02927-CAS-PD
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                                                                                        WITH A CONFIDENTIAL COUNTERPARTY AND FOR RELATED RELIEF
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